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         EXHIBIT 47
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 2                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
 3

 4
       UNITED STATES OF AMERICA,               )
 5                        Plaintiff            )
                                               )
 6     vs.                                     ) No. 1-19-CR-10080
                                               )
 7     GAMAL ABDELAZIZ and JOHN                )
       WILSON,                                 )
 8                        Defendants.          )
                                               )
 9                                             )

10

11
                    BEFORE THE HONORABLE NATHANIEL M. GORTON
12                         UNITED STATES DISTRICT JUDGE
                                JURY TRIAL - DAY 8
13

14
                   John Joseph Moakley United States Courthouse
15                               Courtroom No. 4
                                One Courthouse Way
16                         Boston, Massachusetts 02210

17

18                               September 20, 2021
                                     9:15 a.m.
19

20

21
                           Kristin M. Kelley, RPR, CRR
22                            Debra Joyce, RMR, CRR
                             Official Court Reporter
23                 John Joseph Moakley United States Courthouse
                          One Courthouse Way, Room 3209
24                         Boston, Massachusetts 02210
                            E-mail: kmob929@gmail.com
25
                   Mechanical Steno - Computer-Aided Transcript
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      1      A.    Gamal did.

      2                   MS. KEARNEY:   And if we can go to Exhibit 459 in

      3      evidence.

      4                   Blow up the top message there, please.

      5      Q.    Ms. Sanford, who reminded you as to Rick's direction about

      6      the essays, that it needed to include basketball?

      7      A.    Gamal did.

      8                   MS. KEARNEY:   Can we pull up Exhibit 681 in evidence,

      9      please.

12:38 10                  Can we go to page 2.

     11                   And that section on substantial assistance motion.

     12      Q.    You were asked some questions on cross-examination about

     13      the favorable recommendation from the government?

     14      A.    Yes.

     15      Q.    And I think Mr. Kelly pointed out to you that the first

     16      sentence of that second paragraph, "the determination whether

     17      defendant has provided substantial assistance rests solely in

     18      the discretion of the U.S. Attorney."

     19      A.    Yes.

12:39 20     Q.    Can you read the second sentence, please?

     21      A.    "The U.S. Attorney will make this determination based on

     22      the truthfulness and value of the defendant's assistance,

     23      regardless of the outcome or result of any proceeding or

     24      trial."

     25      Q.    You were asked some questions about whether Mr. Singer
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                                                                                187




      1      Q.    Why not?

      2      A.    We believe we had the information that we need from the

      3      coach.    If we thought we didn't have enough information, we

      4      would ask our Athletic liaison to get us more specific

      5      information, but in these cases, it looks like we had all the

      6      information that we needed to make an admissions decision.

      7      Q.    Based on your experience in USC admissions, what's the

      8      likelihood that these applicants would have been committed if

      9      they weren't walk-on athletes?

03:02 10                  MR. SHEKETOFF:   Objection.

     11                   THE COURT:   Overruled.

     12      A.    It's highly unlikely.      I don't think any of them would be

     13      admitted without their athletic talent.

     14      Q.    Did Donna Heinel tell you that the parents of these

     15      students were making payments in connection with their

     16      admission?

     17      A.    No.

     18      Q.    Did you know that payments were contingent on their

     19      admission?

03:02 20     A.    Absolutely not.

     21      Q.    Would that information have mattered to you in evaluating

     22      these students?

     23      A.    Absolutely.     That would have been a huge problem.

     24      Q.    Why?

     25      A.    Because we don't offer admission in exchange for money.
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                                                                              215




 1     C E R T I F I C A T E

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 4     UNITED STATES DISTRICT COURT )

 5     DISTRICT OF MASSACHUSETTS         )

 6

 7

 8                 We, Kristin M. Kelley and Debra Joyce, certify that

 9     the foregoing is a correct transcript from the record of

10     proceedings taken September 15, 2021 in the above-entitled

11     matter to the best of our skill and ability.

12

13

14           /s/ Kristin M. Kelley                       September 20, 2021

15           /s/ Debra Joyce                             September 20, 2021

16           Kristin M. Kelley, RPR, CRR                     Date
             Debra Joyce, RMR, CRR
17           Official Court Reporter

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